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                       IN THE UNITED STATES DISTRICT
                          COURT FOR THE NORTHERN
                    DISTRICT OF ILLINOIS EASTERN DIVISION


MARK OWENS                               )
                                         )
                 Plaintiff,              )
                                         )
        v.                               )         Case No.
                                         )
JAMES PATRICK CORCORAN, in his           )
Official capacity as Medical Director of )
Elgin Mental Health Center; and          )
Individually, ELGIN MENTAL HEALTH        )
CENTER, a body public; the ILLINOIS      )
DEPARTMENT OF HUMAN SERVICES,            )
a Department of the State of Illinois;   )
CHRISTY LENHARDT, individually;          )         JURY DEMAND
HASINA JAVED, individually; FAISA        )
KAREEMI, individually; BRIAN DAWSON, )
in his official capacity as Hospital     )
Administrator of Elgin Mental Health     )
Center and individually; WILLIAM         )
EPPERSON, individually; and WAYNE        )
BEYER, individually,                     )
                                         )
                 Defendants.             )


                 COMPLAINT FOR DAMAGES AND OTHER RELIEF
                     WITH REQUEST FOR TRIAL BY JURY


       NOW COMES Plaintiff, Mark Owens, by and through his attorneys, the Law

Offices of Kretchmar and Cecala, P.C., with his complaint against the above named

Defendants, and requests trial by jury. In support of his Complaint, Plaintiff states

as follows.



                                  INTRODUCTION


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       1. This action is brought by Mark Owens (“Plaintiff”), a person confined to

Elgin Mental Health Center (“Facility” or “state facility”) at all times relevant to the

claims in this Complaint, to vindicate profound deprivations of his constitutional

rights caused by institutionally based brutality, and institutionally organized sexual

abuse amounting to sexual slavery.

       2. Plaintiff was adjudicated not guilty by reason of insanity (“NGRI”) in the

Circuit Court of Will County, for a criminal charge of disarming a police officer. In

August, 2011, he was committed to the custody of Defendant Illinois Department of

Human Services (“DHS”) for inpatient mental health treatment, initially at Chester

Mental Health Center and subsequently at Elgin Mental Health Center.

       3. Upon his transfer to Elgin, Plaintiff was assigned to receive clinical

treatment on L Unit. The social worker in charge of maintaining and administering

his mental health records and coordinating the several specialists on the treatment

team was Defendant Christy Lenhardt (“Lenhardt”). Over several years, Plaintiff

was housed on L Unit and the close-by K Unit. The clinical staff on K and L Units

worked together and were familiar with each other’s patients. Plaintiff also spent a

brief period on N Unit.

       4. Within a few months of Plaintiff’s arrival in this clinical setting, Defendant

Lenhardt took the opportunity of a private counseling session with the Plaintiff to

attempt to seduce him. She complained to him that her own relationship with her

husband was “not fun” and began to cry. She then pulled her chair uncomfortably




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close to where the Plaintiff was sitting, in a position that allowed her hands to be

between his legs, very close to his crotch area.

       5. Plaintiff immediately became nervous, pointedly excused himself and

moved back, and then left Defendant Lenhardt’s office to end the inappropriate

situation and avoid the seduction attempt of his social worker, whom he had

believed was supposed to be delivering mental health counseling.

       6. Subsequently, Plaintiff asked Defendant Lenhardt if his counseling

sessions could be done somewhere other than in her private office, for example in

the N Unit day room, which was more public and would not so easily enable or

permit any inappropriate behavior.

       7. Lenhardt was quite irritated by Plaintiff’s request, reacting to his earlier

rejection of her sexual advance by implying that Plaintiff was “paranoid”. She

shortly suggested to the team psychiatrist, Defendant Hasina Javed (“Javed”) that

Plaintiff’s diagnosis should be changed to bipolar disorder, a major mental illness

that could require stronger medication (specifically, the antipsychotic drug Abilify),

which would have caused the Plaintiff severe and painful side effects, agitation and

memory loss.

       8. Fortunately, Plaintiff was able to prevail upon Javed not to follow

Lenhardt’s suggestion. He described the general details and clear impropriety of

Lenhardt’s earlier sexual advance during a therapy session, and appealed to Javed’s

conscience as a practicing Muslim.

       9. Although she apparently found Plaintiff’s report credible to some degree

(because she declined to follow Lenhardt’s recommendations regarding Plaintiff’s



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diagnosis and prescription), Javed never reported the alleged incident to the Office

of the Inspector General. An immediate report to OIG was in fact mandated by

statute and by written DHS policy. Such a report would have been the only effective

solution to the situation, and such a report alone would have protected the Plaintiff

and other patients at Defendant Facility from future sexual abuse by Defendant

Lenhardt.

       10. Patients’ insight into their own mental health condition and patients’

own treatment preferences are vital considerations. Without common goals and

collaboration between a patient and the treatment team, the chance of success is

substantially reduced. On L Unit, Defendant Lenhardt had her own consistent

agenda for sexual relations with the Plaintiff; on K Unit, Defendant Kareemi proved

to be inexplicably prejudiced toward a different diagnosis for the Plaintiff, of

schizoaffective disorder, which he did not understand and with which he could not

agree, and which could call for prescription of stronger, debilitating anti-psychotic

drugs that the Plaintiff was loath to take.

       10. By information and belief, all of the named individual defendants

colluded actively or passively to hold the Plaintiff against his will in the Facility, and

to thereby make him available at Defendant Lenhardt’s disposal for her own

personal, perverted purpose of sexual abuse.

       11. During the ensuing months and years, Plaintiff was repeatedly sexually

abused by Defendant Lenhardt, on at least three more occasions. Without any

action in response to Plaintiff’s initial report to Defendant Javed in 2012, and with

Defendant Lenhardt’s continuing official authority and position of power on



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Plaintiff’s treatment team, Plaintiff concluded that he had no choice but to comply

with Lenhardt’s sexual advances or be diagnosed and drugged into a zombie state.

The clear message of the whole clinical regime in the Defendant Facility was that full

compliance with staff judgments or recommendations for whatever might be called

“treatment” was mandatory, if a patient wanted to make any progress toward

release. Thus, if his social worker wanted to have sex with him, Plaintiff was

convinced he had best go along with it. Defendant Lenhardt strongly “came on” to

the Plaintiff so as to make her willful and wanton sexual assault into sexual battery,

unlawfully touching and engaging in sex acts with the Plaintiff who was confined,

imprisoned and under her complete control.



                           II. JURISDICTION, VENUE AND NOTICE



       12. This action arises under the Constitution and laws of the United States,

including Article III, Section 1 of the U.S. Constitution, and it is brought pursuant to

42 U.S.C. §§ 1983 and 1988. The jurisdiction of this Court is invoked pursuant to 28

U.S.C. §§ 1331, 1343 and 2201.

       13. This case is instituted in the United States District Court for the Northern

District of Illinois pursuant to 28 U.S.C. §1391, as the judicial district in which all

relevant events and omissions occurred and in which Defendants maintain offices

and/or reside.



                                      III. PARTIES



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       14. At all times relevant hereto, Plaintiff Mark Owens was a resident of the

State of Illinois and a citizen of the United States of America.

       15. At all times relevant hereto, Defendant James Patrick Corcoran was a

resident of the State of Illinois and a citizen of the United States, and was acting

under color of state law in his capacity as an officer employed by Defendant Illinois

Department of Human Services and/or of the Defendant Facility. Corcoran is sued

in his official capacity as Medical Director of Defendant Facility, in which capacity he

was at all times relevant a direct senior of Defendants Javed and Kareemi. Corcoran

is also sued individually.

       16. At all times relevant hereto, Defendant Christy Lenhardt was a resident

of the State of Illinois and a citizen of the United States, and was acting under color

of state law in her capacity as an officer employed by Defendant Illinois Department

of Human Services and/or of the Defendant Facility. Lenhardt is sued individually.

       17. At all times relevant hereto, Defendant Faisa Kareemi was a resident of

the State of Illinois and a citizen of the United States, and was acting under color of

state law in her capacity as an officer employed by Defendant Illinois Department of

Human Services and/or of the Defendant Facility, and as a psychiatrist on K Unit.

Kareemi is sued individually.

       18. At all times relevant hereto, Defendant Hasina Javed was a resident of the

State of Illinois and a citizen of the United States, and was acting under color of state

law in her capacity as an officer employed by Defendant Illinois Department of




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Human Services and/or of the Defendant Facility, and as a psychiatrist on L Unit.

Javed is sued individually.

       19. At all times relevant hereto, Defendant William Epperson was a resident

of the State of Illinois and a citizen of the United States, and was acting under color

of state law in her capacity as an officer employed by Defendant Illinois Department

of Human Services and/or of the Defendant Facility. Epperson is sued individually.

       20. At all times relevant hereto, Defendant Wayne Beyer was a resident of

the State of Illinois and a citizen of the United States, and was acting under color of

state law in her capacity as an officer employed by Defendant Illinois Department of

Human Services and/or of the Defendant Facility. Beyer is sued individually.

       21. At all times relevant hereto, Defendant Brian Dawson was a resident of

the State of Illinois and a citizen of the United States, and was acting under color of

state law in her capacity as an officer employed by Defendant Illinois Department of

Human Services and/or of the Defendant Facility. Dawson is sued in his official

capacity as Hospital Administrator of Defendant Facility, and is also sued

individually.

       22. Defendants Illinois Department of Human Services (“State”) and Elgin

Mental Health Center (“Facility”) are Illinois body publics and legal entities

responsible for themselves and for the Elgin Mental Health Center. These

Defendants employ the individual Defendants and are proper entities to be sued

under 42 U.S.C. § 1983.

       23. Defendant State, Defendant Facility and Defendants Dawson and

Corcoran are properly sued directly under 42 U.S.C. § 1983 for their own and their



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delegated deliberately indifferent, unconstitutional decisions, policies, practices,

habits, customs, derelict training and supervision, ratification, acquiescence and

intentional failures which were moving forces in the complained of constitutional

and statutory violations and resulting injuries.

       24. Defendants State and Facility are also properly sued under 42 U.S.C. §

1983 for the challenged delegated final decisions of Defendant Brain Dawson in his

official capacity as Hospital Administrator of Defendant Facility, and for the

challenged delegated final decisions of Defendant James Patrick Corcoran in his

official capacity as Medical Director of Defendant Facility, and for those of any other

final delegated decision makers, with respect to the hereinafter challenged

deliberately indifferent policies, decisions, widespread habits, customs, usages and

practices.



                   I. DEFENDANTS’ DELIBERATE AND
              COMPLICIT ACTIONS UNDER COLOR OF LAW
               VIOLATED PLAINTIFF’S RIGHTS, CAUSED
              SEXUAL ABUSE OF THE DISABLED AND RAPE

       1.    Plaintiff was under the control of Defendants’ and each of them during

   and at all times described of in this Complaint.

       2.    At all times during these incidents, Plaintiff was an unarmed,

   defenseless male with little or no sexual experience and was a disabled person

   who was no match for the trained and sophisticated Defendants.

       3.    All of the above-described acts were done by the Defendants

   intentionally, knowingly, willfully, wantonly, maliciously and/or recklessly in

   disregard for Plaintiff’s federally protected rights, and were done pursuant to the


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 preexisting and ongoing deliberately indifferent official custom, practice,

 decision, policy, training, and supervision of the Defendant State and Defendant

 James Corcoran acting under color of state law.

    4.    With deliberate indifference to the rights of citizens to be free from

 excessive force, the Defendant State and Defendant James Corcoran have

 ongoingly ordered, encouraged, tolerated, ratified, and acquiesced to a dangerous

 environment of patient brutality, rape, sexual misconduct, assault, battery and

 sexual assault on a disabled person by:

            a.    failing to conduct sufficient training or
      supervision with respect to the constitutional limitations on
      the use of force, false imprisonment and unlawful sex with
      Facility patients;

            b.    by failing to adequately punish unconstitutional
      uses of force and unlawful sex with Facility patients;

           c.     by ordering and tolerating the use of
      unconstitutional force, false imprisonment and unlawful sex
      with Facility patients;

            d.    by ongoingly failing to properly or neutrally
      investigate complaints of excessive force, false
      imprisonment and unlawful sex with Facility patients; and,

            e.    by ordering, tolerating, encouraging, and
      permitting collusive statements among the Facility staff and
      the police in such situations.

    5.      It is the longstanding, widespread, deliberately indifferent custom,

 habit, practice and/or policy of the Defendant State, Defendant James Corcoran

 and the Defendant Facility to order and permit staff members to use excessive

 force, battery and unlawful sexual acts against individuals when such sexual

 activity and perversion is unnecessary and unjustified, as well as to fail to



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  supervise and to train staff in the appropriate constitutional limits on rape, sexual

  misconduct and perverted sexual activity, knowing that these staff members are

  significant to the protection of the constitutional rights of the patients and

  therefore pose a significant risk of injury to the public who are patients at the

  Defendant Facility.

     6.      With deliberate indifference to the rights of citizens to be free from

  excessive force in the care and treatment received at Defendant Facility, the

  Defendant State and Defendant James Corcoran have ongoingly ordered,

  encouraged, tolerated, ratified, and acquiesced to unconstitutional and abusive

  uses of force and sexual misconduct under the auspices of “mental health

  treatment” by:

            a.      failing to conduct sufficient training or
       supervision with respect to the rights of citizens to be free
       from force and sexual misconduct in mental health facilities;

            b.     failing to adequately punish rape and sexual
       misconduct actions of the Facility staff;

       c.    ongoingly ordering and tolerating unlawful rape, sexual
       misconduct, force, and manipulation-based selective
       treatment among the staff and in decisions regarding the
       ongoing incarceration of those found Not Guilty by Reason
       of Insanity; and

             d.     failing to properly investigate complaints of
       unlawful sexual misconduct, rape, and toleration of collusive
       statements by involved staff in such situations.


     7.      It is the longstanding, widespread, deliberately indifferent custom,

 habit, practice and/or policy of the Defendant State, Defendant James Corcoran

 and Defendant Facility to order as well as permit staff to use force, sexual




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 misconduct and rape as motivating factors in staff decisions and actions, as well

 as to fail to supervise and to train staff in the rights of citizens to be free from

 unconstitutional, violent actions and collusive decision making by facility staff.

      8.      With deliberate indifference to the rights of citizens to be free from

 loss of liberty and seizure of property and persons, as well as keeping, prolonging

 incarceration and imprisonment of Facility patients for the purpose of sexual

 pleasure, rape, sexual misconduct and to prevent Facility patients from exercising

 their constitutional rights, the Defendant State and Defendant James Corcoran

 have ongoingly ordered, encouraged, tolerated, ratified, and acquiesced to a

 dangerous environment of tolerating sexual slavery preventing Facility patients

 from the exercise of such Constitutional rights by:

        a. failing to conduct sufficient training or supervision with
           respect to the due process rights of citizens to be free
           from unlawful imprisonment, extended incarceration
           under the false auspices of “mental health treatment”
           only for the sexual enslavement of the patient;
        b. failing to adequately punish the staff who are engaging
           in sex acts, rape and sexual misconduct with disabled
           patients at the facility and who are prevented from
           exercising their due process rights to be released from
           the Defendant Facility or otherwise object to sexual
           misconduct of the staff;
        c. ongoingly failing to properly investigate complaints of
           sexual misconduct and due process violations against
           Facility patients exercising their constitutional rights.

      9.      It is the longstanding, widespread, deliberately indifferent

 custom, habit

  practice and/or policy of the Defendant State, Defendant James Corcoran and the

  Defendant Facility to order and permit staff members to engage in sexual acts

  with patients and disabled persons, as well as to fail to supervise and to train staff


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  in the constitutional rights of individuals.

      10.    With deliberate indifference to the rights of citizens to be free from

  excessive use of force and sexual misconduct, the Defendant State and

  Defendant James Corcoran have ongoingly ordered, encouraged, tolerated,

  ratified, and acquiesced to the excessive force and rape, sexual misconduct and

  sex with disabled patients and cover up of efforts by staff to report these

  incidents when Defendants have failed to investigate complaints of staff

  misconduct.

      11.    It is the longstanding and widespread custom, habit, practice and/or

  policy of the Defendant State, Defendant James Corcoran and Facility to

  find no fault with staff conduct as long as any story is offered by staff,

  regardless of how incredible.

      12.    Defendant James Corcoran orders the senior staff to routinely

  ratify, acquiesce, rubber stamp, and tolerate the malicious collusive conduct

  and unconstitutional actions of staff by routinely ignoring serious complaints

  of sexual misconduct and other violent sexual acts on the Facility patients, as

  well as fabrication of evidence by the staff. The Defendants State and

  Defendant James Corcoran did exactly that in this case.

      13.    These final policy decisions by Defendant James Corcoran in his

  role as the final delegated policy decision maker with respect to reviewing

  misconduct create liability for Defendant State and Defendant James

  Corcoran. They are also further evidence of the ongoing and deliberately

  indifferent custom, habit, policy, decision, practice, training and supervision




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  of the staff of the Defendant Facility, wherein the Defendant State and

  Defendant James Corcoran order, tolerate and encourage lawlessness and

  disregard for the federal rights of patients.

       14.    In the period addressed by this Complaint, and before and since

  the events described herein, Defendant James Corcoran has declared or

  suggested that other complaints of sexual misconduct involving excessive

  force and unlawful sex with disabled patients and outrageous actions by staff

  were unfounded, without serious investigation, and he has provided cover-up

  support to members of the staff who were violating the constitutional and

  statutory rights of patients.

       15.    As a direct and proximate result of the wrongful conduct of each

  of the Defendants, Plaintiff has been substantially injured. These injuries

  include, but are not limited to, loss of constitutional and federal rights,

  physical injuries, physical and mental impairments, great pain and emotional

  distress, and/or aggravation of pre-existing conditions, and ongoing special

  damages for medically/psychologically related treatment caused by the

  unconstitutional and brutal concerted conduct of all these Defendants.

       16.    The Plaintiff is now suffering from these injuries, with an

  inability to consistently live a normal life free from the rape, sexual

  manipulation and control of the Defendant Lenhardt and from the very staff

  charged with the responsibility to enable his treatment or rehabilitation.

       17.    The Plaintiff also suffers persisting emotional damage the extent

  of which




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  has not yet been fully ascertained. Plaintiff continues to suffer ongoing

  emotional distress, with significant stress related symptoms.

      18.      Plaintiff is also entitled to punitive damages on all of his claims

    against

  the individual Defendants personally, to redress their willful, malicious,

  wanton, reckless and fraudulent conduct.

                               V.      CLAIMS FOR RELIEF

                            FIRST CLAIM FOR RELIEF:
            42 U.S.C. § 1983 -Excessive Force, Unlawful Search, Seizure
              and False Imprisonment in violation of the Forth and
                               Fourteenth Amendment

      19.      Plaintiff hereby incorporates all other paragraphs of this

    Complaint as if fully set forth at length herein.

      20.      Relevant portions of 42 U.S.C. § 1983 provide that:

              Every person, who under color of any statute, ordinance,
              regulation, custom or usage of any state or territory or the
              District of Columbia subjects or causes to be subjected any
              citizen of the United States or other person within the
              jurisdiction thereof to the deprivation of any rights, privileges
              or immunities secured by the constitution and law shall be
              liable to the party injured in an action at law, suit in equity, or
              other appropriate proceeding for redress . . .


      21.      Plaintiff in this action is a citizen of the United States and all

   of the individual Defendants to this claim are persons for purposes of

   42 U.S.C. § 1983.

      22.      All individual Defendants to this claim, at all times relevant

   hereto, were acting under the color of state law in their capacity as staff

   of the State and/or Defendant Facility and their acts or omissions were



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   conducted within the scope of their official duties or employment.

       23.    At all times complained of herein, Plaintiff had a clearly

   established constitutional right under the Forth and Fourteenth

   Amendments to bodily integrity and to be free from excessive force,

   assault, battery, sexual misconduct and rape by the staff of the State.

       24.    At all times complained of herein, Plaintiff had a clearly

   established constitutional right under the Forth and Fourteenth

   Amendments to bodily integrity and to be free from unlawful searches,

   seizures of his property and imprisonment under false allegations, lies

   or trickery by the staff of the State.

       25.    Any reasonable person knew or should have known of these

   rights at the time of the complained of conduct as they were clearly

   established at that time.

       26.    The actions, deception and enslavement as well as the use of

    force by Defendant Lenhardt, as described herein, were also malicious

    and/or involved reckless, callous, and deliberate indifference to

    Plaintiff's federally protected rights. The force and failure to protect

    the Plaintiff’s constitutional rights, and the use of unlawful excessive

    force, assault, battery, sexual misconduct and rape by the Defendant

    violated the Forth and Fourteenth Amendment rights of Plaintiff.

    Defendant Lenhardt used deception and other trickery involving the

    sexual enslavement of the Plaintiff to falsely imprison Plaintiff and

    prolong his incarceration without justification and only to satisfy her




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    sexual perversion.

       27.    The force used constituted excessive force, assault, battery,

    sexual misconduct and rape in that it could have caused and did cause

    serious injury to the Plaintiff.

       28.    None of the Defendants took reasonable steps to protect

    Plaintiff from the objectively unreasonable and conscience shocking

    excessive force, assault, battery, sexual misconduct and rape of

    Defendant Lenhardt or from the continuing excessive force, assault,

    battery, sexual misconduct and rape prolonging the Plaintiff’s

    imprisonment despite being in a position to do so. The Defendants are

    each therefore liable for the injuries and damages resulting from the

    objectively unreasonable and conscience shocking force and other

    constitutional violations caused by each other Defendant.

       29.    Defendants engaged in the conduct described by this

    Complaint willfully, maliciously, in bad faith, and in reckless

    disregard of Plaintiff's federally protected constitutional rights.

       30.    Defendants did so with shocking and willful indifference to

   Plaintiff's rights and their conscious awareness that they would cause

   Plaintiff severe physical and emotional injuries.

       31.    The actions of the Defendants, and each of them, in the

       context and

  circumstances where the Plaintiff represented no threat of harm to himself,

  other patients or staff violates the contemporary standards of decency and at




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  no time was the Plaintiff’s imprisonment necessitated by his own conduct but

  only due to the misconduct and violations of his rights by the Defendants.

        32.    The Defendants, and each of them, conducted a malicious and

    sadistic

  use of force to cause harm to the Plaintiff by forcing him to submit to

  excessive force, assault, battery, sexual misconduct and rape which

  constituted an unlawful bodily touching and stripping away his dignity and

  humanity by submitting to a female staff member under whom the Plaintiff’s

  freedom and wellbeing were solely and completely under her control and that

  such actions violate contemporary standards of decency, regardless of

  whether or not significant injury is evident. The Defendants used force in a

  willful, wanton and unnecessary fashion as there was no need for sex at any

  time or under any circumstance nor was any force, assault, battery, sexual

  activity and/or rape appropriate for a trained, responsible staff member.

        33.    The Defendants’ excessive force, assault, battery, sexual

  misconduct and rape exceeded any reasonable use of force as no force was

  required whatsoever. The use of force involving the sexual enslavement of

  the Plaintiff constitutes force, assault, battery, sexual activity and/or rape,

  seizure and imprisonment of the Plaintiff where such a use of force so

  repugnant as to shock the conscience of mankind.

     34.       The acts or omissions of all individual Defendants were the direct

  and

  proximate causes behind Plaintiff's injuries.




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     35.        These individual Defendants acted in concert and joint action with

  each other.

     36.        The acts or omissions of Defendants as described herein

  intentionally deprived Plaintiff of his constitutional rights and caused him

  other damages.

     37.        These individual Defendants are not entitled to qualified immunity

  for the complained of conduct.

     38.        The Defendants to this claim, at all times relevant hereto, were

  acting pursuant to municipal/county custom, policy, decision, ordinance,

  regulation, widespread habit, usage, or practice in their actions pertaining to

  Plaintiff.

     39.        As a proximate result of Defendants' unlawful conduct, Plaintiff

  has suffered actual physical and emotional injuries, and other damages and

  losses as described herein entitling him to compensatory and special damages,

  in amounts in excess of the jurisdictional limit.

     40.        On information and belief, Plaintiff may suffer lost abilities to

  recover and may further suffer physical and emotional pain from ongoing and

  continued loss of society through the prolonged false incarceration and other

  sexual abuses outlined herein.

     41.        Plaintiff is further entitled to attorneys' fees and costs pursuant to

  42 U.S.C. §1988, pre-judgment interest and costs as allowable by federal law.

     42.        In addition to compensatory, economic and consequential

  damages, Plaintiff is entitled to punitive damages against each of the




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  individually named Defendants under 42 U.S.C. § 1983, in that the actions of

  each of these individual Defendants have been taken maliciously, willfully or

  with a reckless or wanton disregard of the constitutional rights of Plaintiff.

                             SECOND CLAIM FOR RELIEF:
                  Violation of 42 U.S.C. § 1983 –Direct Orders and
                Deliberately Indifferent Policies, Practices, Customs,
               Training, and Supervision in violation of the Fourteenth
                               and First Amendments

      43.     Plaintiff hereby incorporates all other paragraphs of this

  Complaint as if

  fully set forth herein.

      44.     42 U.S.C. § 1983 provides that:

             Every person, who under color of any statute, ordinance,
             regulation, custom or usage of any state or territory or the
             District of Columbia subjects or causes to be subjected any
             citizen of the United States or other person within the
             jurisdiction thereof to the deprivation of any rights, privileges
             or immunities secured by the constitution and law shall be
             liable to the party injured in an action at law, suit in equity, or
             other appropriate proceeding for redress . . .

      45.      Plaintiff in this action is a citizen of the United States and

Defendants

  to this claim are persons for purposes of 42 U.S.C. § 1983.

      46.      The Defendants to this claim at all times relevant hereto were acting

  under the color of state law.

      47.      Plaintiff had the following clearly established rights at the time of

the

  complained of conduct:

                    1. the right to bodily integrity and to be free from


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                 excessive force, unlawful search, seizure and
                 imprisonment by State’s staff under the Forth and
                 Fourteenth Amendments;

                   2. the right to due process of law without interference
                 with his liberty interests and constitutional rights under
                 the Fourteenth Amendment;


     48.       Defendant James Corcoran, Defendant Facility and Defendant State

knew or should have known of these rights at the time of the complained of

conduct as they were clearly established at that time.

     49.       The acts or omissions of these Defendants, as described herein,

deprived Plaintiff of his constitutional and statutory rights and caused him other

damages.

     50.        Defendants are not entitled to qualified immunity for the complained

of conduct.

     51.      Defendant James Corcoran, Defendant Facility and Defendant State

were, at all times relevant, policymakers for the Defendant Facility, Defendant

State and Defendant Facility, and in that capacity established policies, procedures,

customs, and/or practices for the same and gave direct orders to violate the

Plaintiff’s rights in this case.

     52.      These Defendants ordered and committed the actions, developed and

maintained policies, procedures, customs, and/or practices exhibiting deliberate

indifference to the constitutional rights of citizens, which were direct and

proximate causes behind the violations of Plaintiff's constitutional and federal

rights as set forth herein and in the other claims, all of which resulted from a

conscious or deliberate choice to follow a course of action from among various


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available alternatives.

     53.      Defendant James Corcoran, Defendant Facility and the Defendant

State have ordered, created and tolerated an atmosphere of lawlessness, and have

developed and maintained long-standing, institution-wide customs, punishment

and enforcement related policies, procedures, customs, practices, and/or failed to

properly train and/or supervise its staff in a manner amounting to deliberate

indifference to the constitutional rights of Plaintiff and of the public.

     54.      In light of the duties and responsibilities of those staff that

participate in controlling the behavior of recipients of services and preparation of

reports on alleged sexual misconduct, the need for specialized training and

supervision is so obvious, and the inadequacy of training and/or supervision is so

likely to result in the violation of constitutional and federal rights such as those

described herein that the failure to provide such specialized training and

supervision is deliberately indifferent to those rights.

     55.      The unlawful orders and deliberately indifferent training and

supervision provided by Defendant State, Defendant Facility and Defendant

James Corcoran resulted from a conscious or deliberate choice to follow a

course of action from among various alternatives available to Defendant State,

Defendant Facility and Defendant James Corcoran and were direct and

proximate causes in the constitutional and federal violation injuries complained

of by Plaintiff.

     56.       As a direct and proximate result of Defendants' unlawful conduct,

Plaintiff




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  has suffered actual physical and emotional injuries, continues to suffer present

adverse effects and deprivations of his rights, and reasonably fears that she will

suffer the same adverse effects in the future, thereby entitling him to injunctive

relief and orders of the Court prohibiting contact from the Defendants.

    57.         Plaintiff continues to suffer loss of opportunity and ability to

recover and will further suffer physical and emotional pain from ongoing and

continued loss of society from the prolonged incarceration and failure to report

the misconduct or other false reports used to cover-up Defendants’ use of

excessive force and unlawful sexual misconduct. Plaintiff is further entitled to

attorneys' fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and

costs as allowable by federal law.

    58.        Plaintiff seeks appropriate declaratory and injunctive relief pursuant to 42

  U.S.C. § 1983 to redress Defendants' above described ongoing deliberate

indifference in policies, practices, habits, customs, usages, training and

supervision with respect to the rights described herein, and with respect to the

ongoing policy and/or practice of the State in failing to investigate or

appropriately handle complaints of the same, which Defendants have no

intention for voluntarily correcting despite obvious need and requests for such

correction.

                               VI.     PRAYER FOR RELIEF

           Plaintiff prays that this Court enter judgment for the Plaintiff and against

  each of the Defendants and grant:

          A. compensatory and consequential damages, including damages for
              emotional distress, humiliation, loss of enjoyment of life, and other



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          pain and suffering on all claims allowed by law in an amount to be
          determined at trial and in excess of the jurisdictional limit;

       B. economic losses on all claims allowed by law;

       C. punitive damages on all claims allowed by law against individual
          Defendants and in an amount to be determined at trial and in
          excess of the jurisdictional limit;

       D. attorneys' fees and the costs associated with this action under 42 U.S.C. §
          1988, including expert witness fees, on all claims allowed by law;

       E. pre- and post-judgment interest at the lawful rate;

       F. Court ordered equitable and injunctive relief from any contact or
          communication from the Defendants including further sexual advances,
          assaults or other seductive sexual communication from the Defendants; and,

       G. any further relief that this court deems just and proper, and any other
          appropriate relief at law and equity.




                 PLAINTIFF REQUESTS A TRIAL BY JURY.




          Respectfully submitted,



            /s/ S. Randolph Kretchmar
          S. Randolph Kretchmar
          One of the Attorneys for Plaintiff

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